     Case 5:05-cr-00445-RMW    Document 96   Filed 05/15/06   Page 1 of 2



 1    GARCIA, SCHNAYERSON & MOCKUS
      ATTORNEYS AT LAW
 2    225 West Winton Avenue
      Suite 208
 3    Hayward, California 94544
      Telephone: (510) 887-7445
 4

 5    JESSE J. GARCIA
      Attorney for Defendant
 6    CHIRAYU PATEL

 7
                         UNITED STATES DISTRICT COURT
 8                     NORTHERN DISTRICT OF CALIFORNIA

 9
                                                          *E-FILED - 5/15/06*
10    THE UNITED STATES OF AMERICA,   )
                                      )               CR. 05-00445-2 RMW
11                    Plaintiff,      )
                                      )
12    vs.                             )               TRAVEL ORDER
                                      )
13    CHIRAYU PATEL,                  )
                                      )
14                   Defendant.       )
      _______________________________ )
15

16         IT IS HEREBY ORDERED that the defendant be permitted to

17    travel to Gujarat, India, leaving May 19, 2006, and returning

18    on June 29, 2006, to attend his best friend’s wedding, and

19    accompany his brother in law back to the United States. It is

20    further    stipulated      that   Pre-trial      Services      may    release

21    Defendant’s passport to him for the purposes of this travel

22    and such passport is to be surrendered to Pre-trial Services

23    upon his return.

24         Assistant United States Attorney, Mark L. Krotoski, and

25    Paul Manrio of Pretrial Services have been notified and have

26    no objection.

27         Mr.   Patel   has    provided     Pre   Trial      Services      with   an

28    address and telephone number of where he will be staying, as
     Case 5:05-cr-00445-RMW   Document 96   Filed 05/15/06   Page 2 of 2



 1    well as a copy of his flight itinerary.

 2    Dated: 5/15/06

 3                                       /S/ RONALD M. WHYTE
                                        ___________________________
                                        UNITED STATES DISTRICT JUDGE
 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
